                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

GEORGIA MUSLIM VOTER                      *
PROJECT, et al.,                          *
                                          *
      Plaintiffs,                         *        CA No. 1:18cv4789-LMM
                                          *
vs.                                       *
                                          *
BRIAN KEMP, in his official capacity      *
as Secretary of State of Georgia, et al., *
                                          *
      Defendants.                         *
___________________________________ *

                                NOTICE OF APPEAL

      Defendant, Secretary of State Brian Kemp, through counsel, appeals to the United

States Court of Appeals for the Eleventh Circuit from the October 24, 2018 and October

25, 2018 Orders granting a preliminary injunction relief against Defendant, Secretary of

State, Brian Kemp. (Doc. 28 and Doc. 32). The Clerk should omit nothing from the

record on appeal.

                                      Respectfully submitted,
                                      CHRISTOPHER M. CARR
                                      Attorney General               112505

                                      ANNETTE M. COWART             191199
                                      Deputy Attorney General

                                      RUSSELL D. WILLARD           760280
                                      Senior Assistant Attorney General
                                          -1-
                                    /s/ Cristina M. Correia
                                    CRISTINA M. CORREIA 188620
                                    Senior Assistant Attorney General

                                    ELIZABETH A. MONYAK 005745
                                    Senior Assistant Attorney General

                                    Attorneys for Secretary of State Brian Kemp




Please address all
Communication to:
CRISTINA CORREIA
Senior Assistant Attorney General
40 Capitol Square SW
Atlanta, GA 30334
ccorreia@law.ga.gov
404-656-7063
404-651-9325




                                        -2-
                             Certificate of Compliance

     I hereby certify that the forgoing Objections to Proposed Injunction were prepared

in 14-point Times New Roman in compliance with Local Rules 5.1(C) and 7.1(D).




                                         -3-
                                   Certificate of Service

      I hereby certify that on October 26, 2018, I electronically filed this Notice of

Appeal with the Clerk of Court using the CM/ECF system which will automatically send

e-mail notification of such filing to the following attorneys of record:

Sean J. Young
ACLU Foundation of Georgia, Inc.
P.O. Box 77208
Atlanta, GA 30357

Dale E. Ho
ACLU
125 Broad Street, 18th Floor
New York, NY 10004

Brian R. Dempsey
Richard A. Carothers
Carothers & Mitchell, LLC
1809 Buford Highway
Buford, GA 30518

Bryan P. Tyson
Frank Strickland
Strickland Brockington Lewis, LLP
1170 Peachtree Street, Ne Suite 2200, Midtown Prosceium
Atlanta, GA 30309-7200


      I hereby certify that I have e-mailed the document to the following non-CM/ECF

participants:




                                            -4-
Bruce P. Brown
Bruce P. Brown Law
Suite 6
1123 Zonolite Road, Ne
Atlanta, GA 30306

John Powers
Lawyers’ Committee for Civil Rights
   Under Law
1401 New York Avenue, Suite 400
Washington, DC 20005

      This 26th day of October, 2018.

                                         /s/Cristina Correia
                                         Cristina Correia        188620
                                         Senior Assistant Attorney General
                                         40 Capitol Square SW
                                         Atlanta, GA 30334
                                         ccorreia@law.ga.gov
                                         404-656-7063
                                         404-651-9325




                                        -5-
